          Case 3:21-cv-07559-WHA         Document 50         Filed 02/18/21   Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

 SONOS, INC.,                                   §
                                                §
                  Plaintiff,                    §              C.A. 6:20-cv-00881-ADA
                                                §
 v.                                             §
                                                §
 GOOGLE LLC                                     §
                                                §
                  Defendant.                    §


  UNOPPOSED MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT
          Plaintiff Sonos, Inc. files this Unopposed Motion for Leave to File a Second Amended

Complaint, withdrawing Sonos’s claim for infringement of U.S. Patent No. 9,219,460.

          Sonos sought leave to file an Amended Complaint on January 14, 2021, adding a claim for

infringement of U.S. Patent No. 10,848,885. ECF No. 39. The Court granted Sonos’s motion for

leave to amend on February 12, 2021, following a hearing. ECF No. 49. Sonos now seeks to

withdraw its claim for infringement of the ’460 Patent. The parties met and conferred regarding

Sonos’s request, and on February 17, 2021, Google confirmed that it does not oppose.

          Therefore, Plaintiff requests that the Court grant this unopposed Motion and allow Sonos

to file its Second Amended Complaint withdrawing Sonos’s claim for infringement of the ’460

Patent.

Dated: February 18, 2021                            Respectfully submitted,

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Case 3:21-cv-07559-WHA   Document 50   Filed 02/18/21    Page 2 of 3




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Case 3:21-cv-07559-WHA   Document 50   Filed 02/18/21   Page 3 of 3




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